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                  Exhibit K




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                                                                                                                                               Contact Us




                                                         Case Number: CGC23606989
                                     Title: GEARY SHA VS. AIRCRAFT SERVICE INTERNATIONAL, INC. ET AL
                                                   Cause of Action: WRONGFUL DISCHARGE
                                                                 Generated: 2024-03-20 1:15 pm

                              Register of Actions      Parties      Attorneys       Calendar       Payments         Documents

                                         Please Note: The "View" document links on this web page are valid until 1:25:08 pm
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                                                                             browser)



                                                              Register of Actions

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       Date                      Proceedings                                              Document                                 Fee


      2024-02-29                PROOF OF SERVICE BY ELECTRONIC MAIL (TRANSACTION         View
                                ID # 72206790) FILED BY PLAINTIFF SHA, GEARY

      2024-02-29                FILING FEE PAID FOR JOINT STIPULATION AND PROPOSED                                                                  $20.00
                                PROTECTIVE ORDER - CONFIDENTIAL DESIGNATIONS
                                ONLY (TRANSACTION ID # 72206790) FILED BY DEFENDANT
                                AIRCRAFT SERVICE INTERNATIONAL, INC. MENZIES
                                AVIATION (USA), INC. AGUILAR, TRACY

      2023-10-26                NOTICE OF TIME AND PLACE OF TRIAL, COURT TRIAL SET       View
                                FOR JUL-08-2024 AT 9:30 AM IN DEPT. 206. CASE
                                MANAGEMENT CONFERENCE ON NOV-08-2023 IS OFF
                                CALENDAR. NOTICE SENT BY COURT.

      2023-10-25                JURY FEES (TRANSACTION ID # 100217234) DEPOSITED BY                                                                $150.00
                                PLAINTIFF SHA, GEARY

      2023-10-25                CASE MANAGEMENT STATEMENT (TRANSACTION ID #              View
                                100217234) FILED BY PLAINTIFF SHA, GEARY JURY
                                DEMANDED, ESTIMATED TIME FOR TRIAL: 5.0 DAYS

      2023-10-11                CASE MANAGEMENT STATEMENT (TRANSACTION ID #              View
                                100215774) FILED BY DEFENDANT AIRCRAFT SERVICE
                                INTERNATIONAL, INC. ALSO FILED BY DEFENDANT
                                MENZIES AVIATION (USA), INC. AGUILAR, TRACY
                                ESTIMATED TIME FOR TRIAL: 5.0 DAYS

      2023-10-10                NOTICE AND ACKNOWLEDGMENT OF RECEIPT, SIGNED             View
                                JUL-05-2023, SERVED JUN-14-2023 (TRANSACTION ID #
                                71055139) FILED BY PLAINTIFF SHA, GEARY AS TO
                                DEFENDANT MENZIES AVIATION (USA), INC.

      2023-10-10                NOTICE AND ACKNOWLEDGMENT OF RECEIPT, SIGNED             View
                                JUL-05-2023, SERVED JUN-14-2023 (TRANSACTION ID #
                                71055139) FILED BY PLAINTIFF SHA, GEARY AS TO
                                DEFENDANT AGUILAR, TRACY

      2023-08-04                ANSWER TO COMPLAINT (TRANSACTION ID # 100208351)         View                                                     $1305.00
                                FILED BY DEFENDANT AIRCRAFT SERVICE
                                INTERNATIONAL, INC. MENZIES AVIATION (USA), INC.
                                AGUILAR, TRACY

      2023-06-22                SUMMONS ON COMPLAINT (TRANSACTION ID # 70242426),        View
                                PROOF OF SERVICE ONLY, FILED BY PLAINTIFF SHA,
                                GEARY SERVED JUN-15-2023, PERSONAL SERVICE AS TO
                                DEFENDANT AIRCRAFT SERVICE INTERNATIONAL, INC. , A
                                DELAWARE CORPORATION

      2023-06-13                SUMMONS ISSUED (TRANSACTION ID # 70172761) TO            View

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        Date                          Proceedings                                          Document           Fee

                                     PLAINTIFF SHA, GEARY

      2023-06-09                     NOTICE TO PLAINTIFF                                  View

      2023-06-09                     CIVIL CASE COVERSHEET FILED (TRANSACTION ID #        View
                                     70172761) FILED BY PLAINTIFF SHA, GEARY

      2023-06-09                     WRONGFUL DISCHARGE, COMPLAINT (TRANSACTION ID #      View                                 $435.00
                                     70172761) FILED BY PLAINTIFF SHA, GEARY AS TO
                                     DEFENDANT AIRCRAFT SERVICE INTERNATIONAL, INC. , A
                                     DELAWARE CORPORATION MENZIES AVIATION (USA), INC.
                                     A DELAWARE CORPORATION AGUILAR, TRACY , AN
                                     INDIVIDUAL DOES 1 TO 50, INCLUSIVE NO SUMMONS
                                     ISSUED, JUDICIAL COUNCIL CIVIL CASE COVER SHEET
                                     NOT FILED CASE MANAGEMENT CONFERENCE
                                     SCHEDULED FOR NOV-08-2023 PROOF OF SERVICE DUE
                                     ON AUG-08-2023 CASE MANAGEMENT STATEMENT DUE ON
                                     OCT-16-2023

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